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            EXHIBIT A
             Notice of Proposed Settlement
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  NOTICE OF PROPOSED CLASS ACTION SETTLEMENT –
                   MS. L. v. ICE
If you were a noncitizen parent (or Legal Guardian), or were a minor child, who came to the U.S. border together
between January 20, 2017 and January 20, 2021, were apprehended by the U.S. government together, and then
separated by the U.S. government, you may be affected by a proposed class action settlement (“Settlement”).
The Settlement has been reached in a class action lawsuit called Ms. L v. ICE, 18-cv-00428-DMS-AHG (S.D.
Cal.). This lawsuit is about families who were apprehended by the U.S. government together, but then separated
and kept apart. The parties in the lawsuit have proposed to settle the case, and the U.S. District Court for the
Southern District of California must decide whether to approve the Settlement.
This Notice will tell you about your rights under the Settlement. You are not being sued, and this is not an
advertisement. If you think the Settlement relates to you, please read this Notice.

 PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE
               TO INQUIRE ABOUT THIS SETTLEMENT.
What is the lawsuit about?
Ms. L. v. ICE is a federal court case about the separation of families at the border between January 20, 2017 and
January 20, 2021. It was originally brought on behalf of a class of noncitizen parents who came to the southern
U.S. border together as a family, but were separated by the U.S. government. A case like this is brought on behalf
of a group of people who have similar legal claims (called a “Class”).
The case was filed in early 2018 and claimed that the government’s practice of separating families from each
other violated the U.S. Constitution and federal laws.
Plaintiffs and the government have now agreed to settle this case and have asked the Court to approve a
Settlement that would offer various ways of helping families reunify with their separated family members.
The Court has appointed lawyers to represent the Class. They are called “Class Counsel” and their contact
information is listed at the end of this document.
What rights does the settlement provide?
Below is only a summary of the Settlement. If you want to know more, you should read the Settlement or talk to
your lawyer, if you have one. The Settlement provides benefits to certain families who were separated by the
U.S. government in the past, and also creates procedures the U.S. government must follow if it seeks to separate
noncitizen families in the future. Potential Class members are noncitizen parents or Legal Guardians, and their
child(ren), who were separated at the border and meet the requirements of Class membership contained in the
Settlement.
For certain families who were separated between January 20, 2017 and January 20, 2021, the U.S. government
will provide:
    •   The opportunity to reunify for Ms. L. Settlement Class Members outside the United States. The U.S.
        government will:
           o provide the opportunity for all Ms. L. Settlement Class members to reunify with their separated
               parent, Legal Guardian, or child, including via applying for temporary immigration parole. The
               first step for Settlement Class members who seek reunification through this opportunity will be to
               register for assistance through an existing U.S. government website, together.gov or juntos.gov, or
               to call a help desk for assistance with registering.
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            o   provide a process by which certain family members who were not separated will be provided an
                opportunity to live with the reunified parent or Legal Guardian and child in the United States.
            o   return to the United States Class members and certain additional family members who are
                determined to be necessary for reunification at the government’s expense.

    •   Support for Ms. L. Settlement Class Members inside the United States. The U.S. government will:
           o provide assistance with certain health care copayments and housing needs
           o provide legal access and orientation tailored to Class members, including counseling on relief, steps
              necessary to apply for relief, assistance in filling out applications, and pro bono referrals.
           o provide behavioral health services to Class members.

    •   Accounting for the effects of separation in immigration cases. The U.S. government will:
           • Provide certain Class members and qualifying additional family members the opportunity to apply
              for parole and employment authorization. Terms of parole and employment authorization will be
              for 36 months, with the opportunity to renew. USCIS will exempt the filing fee for parole
              applications and employment authorization applications.
           • Establish procedures for Ms. L. Class members in the United States to apply for asylum in the
              United States with USCIS. Applications filed within the deadlines set by the settlement will be
              deemed to meet the one-year filing deadline.
           • USCIS asylum applications filed by Ms. L. Class members will be reviewed by a special group of
              asylum officers, who will be specially trained on how the harms of separation can affect Class
              Members’ asylum claims.
           • Establish procedures to allow Ms. L. Class members in proceedings or who have removal orders to
              reopen their cases or otherwise access affirmative asylum proceedings.
           • Contract with an independent organization to communicate with class members and assist class
              members and eligible additional family members with necessary parole and employment
              authorization applications.

    •   Including certain separated parents and children in the Settlement. Certain families separated from
        January 20, 2017, and January 20, 2021, were previously not included in the Ms. L. Class because of things
        like the parent’s criminal history or allegations of abuse against the parent. Depending on the reasons for
        their separations, the Settlement will provide a mechanism for certain of those separated family members
        to seek inclusion in the Class, which would make them eligible for certain settlement benefits. A first step
        in seeking inclusion in the Class will be to register through an existing U.S. government website,
        together.gov or juntos.gov, or to call a help desk for assistance with registering.

Into the future, the Settlement Agreement will provide the following:

            o   The government will ensure that noncitizen children in DHS custody are not separated from their
                accompanying noncitizen parent or Legal Guardian, except in limited circumstances. The
                settlement describes the limited circumstances when a family may be separated.
            o   The government will also use specific procedures to maintain family unity to the greatest extent
                possible.
            o   The government will document the separation and the facts and reasons for separation; ensure that
                the separated parents and children have information about each other; and ensure that federal
                agencies communicate with each other concerning the locations and status of separated adults and
                children.
            o   The settlement also provides procedures to ensure continued communication between parents and
                children; allow families to challenge a separation; and provide mechanisms for reunifying separated
                families.
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You have the right to object to the Settlement.

You have the right say what you think about the Settlement before the Court decides whether to approve it. You
can do this by submitting something in writing to the Court or Class Counsel, attending a Court hearing about the
Settlement, or both.

If you like the Settlement’s terms, you do not have to do anything.

If you are not satisfied with the Settlement, you can ask the Court to deny approval for the Settlement. If the Court
denies approval, the Settlement will not happen and the lawsuit will continue.
    • If that is what you want, you must object to the proposed Settlement in writing. If you object in writing,
        you may also appear at the Final Approval Hearing, either on your own behalf or through your own attorney.
        If you appear through your own attorney, you are responsible for hiring and paying for that attorney. If the
        Court approves the Settlement despite any objections, it will apply to you even if you do not agree with it.

All written objections and supporting papers must:

    •   Clearly identify the following case name and number: Ms. L. v. ICE, Case 18-cv-00428-DMS-AHG (S.D.
        Cal.)
    •   Be submitted to the Court by mailing them to:

                James M. Carter & Judith N. Keep U.S. Courthouse, Clerk’s Office
                United States District Court for the Southern District of California
                333 W. Broadway San Diego CA 92101
                ATTN: Ms. L. v. ICE Class Objection

        You can also file your objections in person at the above address, or email a copy of your objections to Class
        Counsel at the information below.
    •   Be filed or received on or before [November 22, 2023].

When and where will the Court decide whether to approve the Settlement?

The Final Approval Hearing is scheduled to take place on [December 8, 2023], at 1:00 PM, at the James M. Carter
& Judith N. Keep U.S. Courthouse, 333 W. Broadway San Diego CA 92101. The date and time of the Final
Approval Hearing may change without notice to you.

Information about any changes to the Final Approval Hearing date or time will be available, for a fee, through the
Court’s     Public     Access       to     Court     Electronic      Records      (PACER)          system,      at
https://www.casd.uscourts.gov/cmecf/nextgen.aspx, using the case number 18-cv-00428-DMS-AHG.

Where can I get more information?

This Notice summarizes the Settlement. You should feel free to talk to your lawyer if you want to know more. The
Settlement Agreement is also available at the following website: https://www.aclu.org/cases/ms-l-v-ice

You can also contact Class Counsel at this email address or voicemail number:

        Phone: (646) 905-8892
        Email: familyseparation@aclu.org
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You can register your interest in assistance through the Settlement at together.gov or juntos.gov, or you can call
       these phone numbers to a help desk for assistance with registering:

In Guatemala, call: +502 – 2302 – 5773

        In Honduras, call: +504 – 2217 – 0379

        In El Salvador, call: +503 – 2136 – 1163

        In Mexico, call: +52 – 55 – 8897 – 5395

        In Brazil, call: +55 – 21 – 3500 – 8817

        In Nicaragua, call: +505 – 7517 – 8143

        In the United States and in all other countries, call: +1 – 213 – 454 – 0527
